                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Eastlake Investments, LLC                    Case No. 19-42309
                                              Judge Thomas J. Tucker
                       Debtor.                Chapter 7

                                              Adversary Proceeding No. 19-04307
FRED J. DERY, Chapter 7 Trustee,              Judge Thomas J. Tucker

                       Plaintiff,
v.

LONG LAKE REALTY GROUP,
LLC, a Michigan limited liability
company, DEAN J. GROULX, an
individual, and WENDY A.
GRIMALDI-GROULX, an individual

                       Defendants.


                        ORDER EXTENDING DEADLINE
                    FOR PARTIES TO COMPLETE MEDIATION

        This case is before the Court on the stipulation of the parties filed on April 24,

2020 (Docket # 32). The Court finds good cause to enter this Order.

        IT IS ORDERED that the current May 15, 2020 deadline for the parties to

complete mediation is extended through and including June 30, 2020.




     19-04307-tjt   Doc 33   Filed 04/24/20   Entered 04/27/20 09:19:18    Page 1 of 2
Signed on April 24, 2020




   19-04307-tjt   Doc 33   Filed 04/24/20   Entered 04/27/20 09:19:18   Page 2 of 2
